     Case 1:03-cv-06014-OWW-SMS Document 36 Filed 12/20/05 Page 1 of 2


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 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   STEVEN VLASICH,                                          CASE NO. CV-F-03-6014 OWW SMS HC
12                           Petitioner,                      ORDER REGARDING PETITIONER’S
                                                              REQUEST FOR IN FORMA PAUPERIS
13           vs.                                              STATUS ON APPEAL
14   A.K. SCRIBNER,                                           [Doc. 34]
15                           Respondent.
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17           On November 1, 2005, the Court denied Petitioner’s petition for writ of habeas corpus filed
18   pursuant to 28 U.S.C. § 2254, and judgment was entered the same date. The case is currently on appeal
19   at the United States Court of Appeals for the Ninth Circuit.
20           On December 5, 2005, Petitioner filed a “request for judicial notice.” Petitioner indicates that
21   he has requested that the Court of Appeals grant him in forma pauperis status as he is unable to pay the
22   filing fee. (Court Doc. 34.)
23           A party who was permitted to proceed in forma pauperis in the district court may proceed in
24   forma pauperis on appeal without further authorization unless the district court certifies that the appeal
25   is not taken in good faith. See Fed. R. App. Pro. 24(a)(3). In this case, Petitioner paid the filing fee, and
26   therefore did not proceed in this Court in forma pauperis. Thus, Petitioner is not automatically entitled
27   to proceed in forma pauperis on appeal.
28           Rule 24(a)(1) of the Federal Rules of Appellate Procedure states that a party who desires to

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     Case 1:03-cv-06014-OWW-SMS Document 36 Filed 12/20/05 Page 2 of 2


 1   appeal in forma pauperis must file a motion in the district court, and attach to that motion a completed
 2   application to proceed in forma pauperis. Here, Petitioner did not submit an application to proceed in
 3   forma pauperis accompanied by a certified copy of Petitioner’s prison trust account. See 28 U.S.C.
 4   1914(a); 1915 (a). The Court, however, will provide Petitioner with the opportunity to submit the
 5   appropriate application and certified copy of his prison trust account.
 6          Accordingly, it is HEREBY ORDERED that:
 7          1.      The Clerk of Court is directed to send Petitioner an application to proceed in forma
 8                  pauperis;
 9          2.      Within thirty (30) days from the date of service of this order, Petitioner shall submit a
10                  complete in forma pauperis application and certified copy of his prison trust account or
11                  pay the required filing fee; and
12          3.      The Clerk of Court is directed to serve a copy of this order on the United States Court
13                  of Appeals for the Ninth Circuit.
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21                                           IT IS SO ORDERED.
22   Dated: December 19, 2005                          /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
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